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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

JANE DOE 1, JANE DOE 2,                        §
JANE DOE 3, JANE DOE 4,                        §
JANE DOE 5, JANE DOE 6,                        §
JANE DOE 7, JANE DOE 8,                        §
JANE DOE 9, AND JANE DOE 10                    §    Cause No. 6:16-cv-173-RP-JCM
                                               §    JURY TRIAL DEMANDED
                      Plaintiffs,              §
                                               §
vs.                                            §
                                               §
BAYLOR UNIVERSITY                              §
                                               §
                      Defendant.               §

         PLAINTIFFS’ MOTION FOR LEAVE TO EXTEND AND SET DEADLINES

  TO THE HONORABLE JUDGE OF SAID COURT:

      COME NOW PLAINTIFFS and file this Motion for Leave to Extend and Set Deadlines.

 In support thereof, Plaintiffs would show the honorable Court as follows:

       The Court will recall that previously Plaintiffs moved to extend the deadline to file

amended pleadings and settled on October 2, a date Defendants would agree to but suggested an

additional extension might be needed. In the interim, it was expected that further progress would

be made in document production. At the very least, Plaintiffs expected to receive a large volume

of the Pepper Hamilton materials. Despite this hope, document production has remained at a

snail’s pace. Only one production, of two Pepper Hamilton custodians have been made, on

September 27. The vast majority of PH materials have still not been handed over. Of course,

none of the ESI search materials have been produced because the parties await the Court’s

decision on ESI search terms.



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       In prior conferences between counsel concerning extension of the pleading deadline,

defense counsel has indicated opposition to moving the deadline further given the approaching

expert designation and other deadlines. However, Plaintiffs are unable to file a complete and final

pleading until they have a more thorough knowledge of the details of Defendant’s behavior giving

rise to these claims. Since much of this evidence is in the custody of Defendant in documents, ESI

and employee testimony, Plaintiffs require a more complete discovery process in order to fashion

their final complaint. The original schedule provided for Plaintiffs to receive much of their

needed discovery before requiring amended pleadings, yet the pace of discovery has foreclosed that

opportunity.

       As the Court is aware from the recent Motion for Discovery (ECF 196) filed by Plaintiff,

there is much dispute concerning the pace and scope of discovery. The Court will no doubt deal

with those issues within its available resources. Nevertheless, Plaintiffs seek extension of the

pleading deadline until at two weeks after the completion of document production is certified by

Baylor. The Court should set a deadline by which Baylor is expected to certify it believes it has

completed document production, subject to minor supplementation for newly located materials.

Then, the deadline to amend pleadings should be no less than two weeks after that date. This

would allow Plaintiffs the benefit of the document production and some time to take some

depositions, before being required to file their final complaint.

       Under the present scheduling order, Plaintiffs are facing deadlines such as the pleading

deadline and the deadline to designate experts. Yet, Plaintiffs are unable to meet these deadlines

until Baylor has met its discovery obligations. Baylor faces no deadline to meet its obligations and

a year of litigation has revealed that Baylor is in no hurry to do so. Plaintiffs desperately seek to



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keep the current trial setting. In order to meet this trial setting, or, at the very least to get this case

moving more swiftly, Plaintiffs ask the Court to set a deadline for Baylor to substantially complete

document production and, at least two weeks thereafter, set the deadline for Plaintiffs to amend

their complaint. Deadlines for designation of experts and others thereafter may also require

adjustment based upon these changes.

        For the foregoing reasons, Plaintiffs asked to be excused from the current pleading

deadline and the new deadlines be set in accordance with the arguments asserted above.


     Dated this 2nd day of October, 2017

                                                  Respectfully submitted,

                                                  BRAZIL & DUNN, L.L.P.

                                                   /s/ Chad W. Dunn
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                                                  ATTORNEYS FOR PLAINTIFFS




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                                 CERTIFICATE OF CONFERENCE

        The undersigned counsel certifies that prior to filing this motion, he conferred with counsel
for Defendant. Defendant opposes further extension of the pleading deadline, at least in so far as
the other deadlines in the Court’s schedule remain. The parties have conferred on several occasions
and have been unable to agree on schedule revisions, as of yet. Defense counsel has, helpfully,
proposed the following schedule, which could be agreeable to Plaintiffs but Plaintiffs are concerned
that it may not permit the Court sufficient time to consider dispositive motions or would otherwise
jeopardize the trial setting. Also, defense counsel asserts that Pepper Hamilton production could be
complete by “mid November” but no estimate of a deadline for ESI production is given in light of
the pending ESI motion. Without further direction from the Court on the trial date issues and
without further direction on when the document production will be substantially complete,
Plaintiffs are hesitant to agree to the new deadlines proposed by defense counsel.

       Defendants proposed schedule revisions:

           Amendments                 January 4, 2018
           Plaintiffs’ experts        Feb. 16, 2018
           Defendant’s experts        April 18, 2018
           Discovery                  May 25, 2018
           Dispositive motions        June 29, 2018

                                                /s/ Chad W. Dunn
                                               Chad W. Dunn


                                   CERTIFICATE OF SERVICE

     This is to certify that a true and correct copy of the above and foregoing Motion has been sent
 via the Court’s electronic filing system to counsel for Defendant on October 2, 2017.

                                                /s/ Chad W. Dunn
                                               Chad W. Dunn




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